        Case 2:15-cv-08591-GHK-PLA                     Document 7         Filed 11/04/15       Page 1 of 1 Page ID
                                                             #:22
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Central District
                                                 __________  DistrictofofCalifornia
                                                                          __________

               Hoang Minh Le, an individual                           )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                        Civil Action No. 2:15-cv-8591 GHK (PLAx)
 NEW VALLEY, LLC, a limited liability company; and                    )
             DOES 1 through 10,                                       )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)New Valley, LLC
                                      2444 Wilshire Blvd Ste 603
                                      Santa Monica, CA 90403




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Pamela Tsao
                                      2030 e. 4th Street, Suite 205
                                      Santa Ana, Ca 92705




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date: 11/4/15                                                                B. Moss
                                                                                       Signature of Clerk or Deputy Clerk
